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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 ERIN MASCARELLI,

        Plaintiff,

 v.                                               CASE NO.: 8:19-cv-00554-JSM-AEP

 THE CBE GROUP, INC.,

        Defendant.



              JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Erin Mascarelli, and the Defendant, The CBE Group, Inc.,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against

the Defendant, in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.



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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed via the

Court’s CM/ECF system on September 17, 2019 to all parties of record.

                                           Respectfully submitted,

                                           /s/Geoffrey E.Parmer
                                            Geoffrey E. Parmer, Esquire
                                            Florida Bar No. 989258
